Case 23-13359-VFP
  UNITED              Doc 1864
         STATES BANKRUPTCY COURTFiled 08/09/23 Entered 08/09/23 15:51:01                                        Desc Main
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     Caption in Compliance with D.N.J. LBR 9004-1(b)
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     In re:                                                              Chapter 11

     BED BATH & BEYOND INC., et al.,                                     Case No. 23-13359 (VFP)

               Debtors.1                                                 (Jointly Administered)


  STIPULATION AND CONSENT ORDER PURSUANT TO SECTIONS 365 AND 363 APPROVING THE
            LEASE TERMINATION AGREEMENT WITH YSM-PONDEROSA, LLC

              The relief set forth on the following pages, numbered two (2) through four (4), is hereby

 ORDERED.




  DATED: August 9, 2023




 1
        The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
        Cases is 650 Liberty Avenue, Union, New Jersey 07083.



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 Debtors:                BED BATH & BEYOND INC., et al.
 Case No.                23-13359-VFP
 Caption of Order:       STIPULATION AND CONSENT ORDER PURSUANT TO SECTIONS
                         365 AND 363 APPROVING THE LEASE TERMINATION
                         AGREEMENT WITH YSM-PONDEROSA, LLC

          This stipulation and consent order (the “Stipulation and Consent Order”) is made by and

 between YSM-Ponderosa, LLC (“Landlord”) and Bed Bath & Beyond Inc., and its affiliates, as

 debtors and debtors in possession (the “Debtors,” and together with Landlord, the “Parties”),

 including, as applicable, by and through their duly authorized undersigned counsel.

          WHEREAS, on April 23, 2023 (the “Petition Date”), each of the Debtors commenced with

 the Court a voluntary case under chapter 11 of the Bankruptcy Code. The Debtors continue to

 operate their businesses and manage their assets as debtors in possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code;

          WHEREAS, the Debtors’ chapter 11 cases (the “Chapter 11 Cases”) have been

 procedurally consolidated;

          WHEREAS, prior to the Petition Date, YSM-Ponderosa, LLC (“Landlord”) and Bed Bath

 & Beyond Inc. entered into that certain lease of nonresidential real property dated July 29, 2014

 (the “Lease”) covering premises located at 195 Yale Street Market, Houston, Texas;

          WHEREAS, the Parties have agreed upon the terms of the Lease Termination Agreement

 attached hereto as Exhibit A (the “Lease Termination Agreement”), for which the Parties seek

 approval hereby;

          NOW THEREFORE, FOR GOOD AND VALUABLE CONSIDERATION THE

 PARTIES HERETO ACKNOWLEDGE RECEIVING, IT IS HEREBY STIPULATED,

 AGREED AND ORDERED AS FOLLOWS:

          1.       The recitals set forth above are hereby made an integral part of the Parties’

 Stipulation and Consent Order and are incorporated herein.



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          2.       Pursuant to sections 105(a), 363(b)(1) and (f) and 365(a) of the Bankruptcy Code,

 the Debtors and Landlord (as defined in the Lease Termination Agreement) are authorized to enter

 into and perform under the Lease Termination Agreement, and to implement the Lease

 Termination Agreement and the transactions contemplated thereunder and hereunder. The Lease

 Termination Agreement and all of the terms and conditions thereof, including, without limitation,

 the rejection and termination of the Lease, the consummation of the transactions contemplated

 thereunder and hereunder, and the releases contemplated therein, which for the avoidance of doubt

 includes the Landlord’s release of any administrative claims (except as provided thereunder), are

 hereby approved in all respects.

          3.       Upon the Outside Termination Date (as defined in the Lease Termination

 Agreement) and to the extent that the Lease has not already been terminated, the Debtors’ rejection

 and termination of the Lease shall occur without any further action required by the Debtors subject

 to the terms and conditions of the Lease Termination Agreement.

          4.       The Debtors are authorized, pursuant to section 363(b)(1) of the Bankruptcy Code,

 to transfer any rights in and under the Lease to the Landlord, pursuant to the terms of the Lease

 Termination Agreement, which transfer shall, pursuant to section 363(f) of the Bankruptcy Code,

 be free and clear of any and all liens, claims and encumbrances, with such liens, claims and

 encumbrances to attach to the proceeds received on account of such transfer in the same order of

 priority and with the same validity, force and effect that any creditor had prior to the transfer,

 subject to any claims and defenses the Debtors and the Debtors’ estates may have with respect

 thereto.



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                          AGREEMENT WITH YSM-PONDEROSA, LLC

          5.       The Debtors’ Motion for Entry of an Order Authorizing the Debtors to Assume and

 Assign Certain Unexpired Leases [Docket No. 428] is deemed withdrawn with prejudice with

 respect to the Lease and paragraph 3 of the Order Authorizing the Debtors to Assume and Assign

 Certain Unexpired Leases [Docket No. 731] (the “WM Order”) shall be deemed stricken from the

 WM Order and of no further force or effect. For the avoidance of doubt nothing in this Stipulation

 and Consent Order shall be deemed to effect any provision of the WM Order other than paragraph

 3.

          6.       The Debtors and the Landlord are authorized to take any and all actions reasonably

 necessary or appropriate to consummate the Lease Termination Agreement and the transactions

 contemplated thereunder and hereunder.

          7.       The Lease Termination Agreement and each of the transactions contemplated

 therein were negotiated, proposed and are undertaken by the Debtors and the Landlord from arm’s-

 length bargaining positions without collusion or fraud, and in good faith within the meaning of

 section 363(m) of the Bankruptcy Code. As a result of the foregoing, the Landlord is entitled to

 all of the protections afforded by section 363(m) of the Bankruptcy Code.

          8.       The Debtors and Landlord are authorized to take all actions necessary to effectuate

 the relief granted pursuant to this Stipulation and Consent Order in accordance with the Motion.

          9.       Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), this Stipulation and

 Consent Order shall be effective and enforceable immediately upon entry hereof.




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          10.      Subject in all respects to the Lease Termination Agreement, this Court retains

 exclusive jurisdiction with respect to all matters arising from or related to the implementation,

 interpretation, and enforcement of this Stipulation and Consent Order.




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Dated: August 1, 2023
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                                        EXHIBIT A

                                Lease Termination Agreement




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